

Matter of Rahman (2023 NY Slip Op 06585)





Matter of Rahman


2023 NY Slip Op 06585


Decided on December 21, 2023


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered:December 21, 2023

PM-279-23
[*1]In the Matter of Sharon Whitney Rahman, an Attorney. (Attorney Registration No. 2323673.)

Calendar Date:December 18, 2023

Before:Garry, P.J., Clark, Reynolds Fitzgerald, Fisher and McShan, JJ.

Sharon Whitney Rahman, Lancaster, Pennsylvania, pro se.
Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany (Alison M Coan of counsel), for Attorney Grievance Committee for the Third Judicial Department.



Per Curiam.
Sharon Whitney Rahman was admitted to practice by this Court in 1990 and lists a business address in Lancaster, Pennsylvania with the Office of Court Administration. Rahman now seeks leave to resign from the New York bar for nondisciplinary reasons (see  Rules for Atty Disciplinary Matters [22 NYCRR] § 1240.22 [a]). The Attorney Grievance Committee for the Third Judicial Department (hereinafter AGC) advises that it does not oppose Rahman's application.
Upon reading Rahman's affidavit sworn to October 26, 2023 and filed November 2, 2023 and upon reading the December 14, 2023 correspondence in response by the Deputy Chief Attorney for AGC, and having determined that Rahman is eligible to resign for nondisciplinary reasons, we grant her application and accept her resignation.
Garry, P.J., Clark, Reynolds Fitzgerald, Fisher and McShan, JJ., concur.
ORDERED that Sharon Whitney Rahman's application for permission to resign is granted and her nondisciplinary resignation is accepted; and it is further
ORDERED that Sharon Whitney Rahman's name is hereby stricken from the roll of attorneys and counselors-at-law of the State of New York, effective immediately, and until further order of this Court (see generally  Rules for Atty Disciplinary Matters [22 NYCRR] § 1240.22 [b]); and it is further
ORDERED that Sharon Whitney Rahman is commanded to desist and refrain from the practice of law in any form in the State of New York, either as principal or as agent, clerk or employee of another; and Rahman is hereby forbidden to appear as an attorney or counselor-at-law before any court, judge, justice, board, commission or other public authority, or to give to another an opinion as to the law or its application, or any advice in relation thereto, or to hold herself out in any way as an attorney and counselor-at-law in this State; and it is further
ORDERED that Sharon Whitney Rahman shall, within 30 days of the date of this decision, surrender to the Office of Court Administration any Attorney Secure Pass issued to her.








